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                 19SL-CC02229 - ASHFAQ HUSSAIN SYED ET AL V FRONTIER AIR LINES,
                                          IN (E-CASE)


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07/08/2019           Order
                     application for William T Woodrow pro hac vice granted.SO ORDERED: JUDGE JOSEPH L. WALSH III
                     Motion Granted/Sustained
                     Plaintiff's Motion for cause to be litigated with children identified through initials and under seal..SO
                     ORDERED: JUDGE JOSEPH L. WALSH III
                        Associated Entries: 06/20/2019 - Motion Filed
                     Order
                     order admitting of Thatcher A Stone for Pro Hac Vice.SO ORDERED: JUDGE JOSEPH L. WALSH III

07/03/2019           Order
                     PETITION FOR APPOINTMENT AS NEXT FRIEND.SO ORDERED: JUDGE JOSEPH L. WALSH III

06/26/2019           Order
                     The court being advised that Defendant consents the court hereby grants the following motions per order
                     filed.SO ORDERED: JUDGE JOSEPH L. WALSH III
                     Agent Served
                     Document ID - 19-SMCC-4976; Served To - FRONTIER AIR LINES, INC.; Server - ; Served Date - 13-
                     JUN-19; Served Time - 00:00:00; Service Type - Sheriff Department; Reason Description - Served

06/20/2019           Order
                     Order to Correrct error in Plaintiff Syed's Name in Case Caption.SO ORDERED: JUDGE JOSEPH L.
                     WALSH III
                     Motion Filed
                     Plaintiffs Motion for Cause to be Litigated with Childred Identified Through Initials Only.
                        Filed By: W BEVIS SCHOCK
                        On Behalf Of: ASHFAQ HUSSAIN SYED, SHELLY RENEE BRANCH, A. M. S., N. G. S.
                        Associated Entries: 07/08/2019 - Motion Granted/Sustained
                     Application Filed
                     Application for Admission of Thatcher A Stone for Plaintiffs Pro Hac Vice; Affidavit of Thatcher A Stone;
                     Receipt of Pro Hac Vice Fee.
                       Filed By: W BEVIS SCHOCK
                       On Behalf Of: ASHFAQ HUSSAIN SYED, SHELLY RENEE BRANCH, A. M. S., N. G. S.
                     Application Filed
                     Application for Admission of William T Woodrow for Plaintiffs Pro Hac Vice; Affidavit of William T
                     Woodrow; Receipt of Pro Hac Vice Fee.
                       Filed By: W BEVIS SCHOCK
                     Notice
                     Plaintiffs Notice of Filing Pro Hac Vice Fee to Missouri Supreme Court; Receipt from Supreme Court.
                        Filed By: W BEVIS SCHOCK
                     Petition:
                     Petition for Appointment as Next Friend.
                        Filed By: W BEVIS SCHOCK




https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                            7/23/2019
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                     On Behalf Of: ASHFAQ HUSSAIN SYED, SHELLY RENEE BRANCH, A. M. S.

06/11/2019        Motion Filed
                  Plaintiffs Motion for Order to Clerk to Correct Error in Plaintiff Syeds Name in Case Caption.
                     Filed By: W BEVIS SCHOCK
                     On Behalf Of: ASHFAQ HUSSAIN SYED, SHELLY RENEE BRANCH, A. M. S., N. G. S.

06/06/2019        Summons Issued-Circuit
                  Document ID: 19-SMCC-4976, for FRONTIER AIR LINES, INC..Summons Attached in PDF Form for
                  Attorney to Retrieve from Secure Case.Net and Process for Service.
                  Judge/Clerk - Note
                  PLEASE E-FILE AN ORDER FOR THE USE OF INITIALS INSTEAD OF THE FULL NAME

05/30/2019        Filing Info Sheet eFiling
                      Filed By: W BEVIS SCHOCK
                  Pet Filed in Circuit Ct
                  PETITION.
                     On Behalf Of: ASHFAQ HUSSAIN SYED, SHELLY RENEE BRANCH, A. M. S., N. G. S.
                  Judge Assigned
                  DIV 17
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https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                           7/23/2019
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                     IN THE CIRCUIT COURT FOR THE COUNTY OF ST. LOUIS                                   (DQ
                                                                                                         ,
                                     STATE OF MISSOURI                                                  Cl)
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 ASHFAQ HUSSAIN SYED,                                                                                   C-_

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 SHELLY RENEE BRANCH,                                                                                   ~
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 A.M.S., by Next Friend Ashfaq Hussain Syed,
                                                                                                        v
           (Pending appointment),                                                                       ~
                                                                                                        w
                                                                Case No.:                               0
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 N.G.S., by Next Friend Ashfaq Hussain Syed,                                                            0
                                                                                                        ~
            (Pending appointment),                              Division:                               (D

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             Plaintiffs,                                                                                W
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 FRONTIER AIR LINES, INC.,

 Serve:      Sheriff of Cole County
             Prentice Hall Corporation
             221 Bolivar St
             Jefferson City, MO 65101

             Defendant.

                                          INTRODUCTION

 1.       This is an action against Frontier Air Lines Inc. (hereinafter "Frontier"). The suit arises

          from an incident that occurred on July 15, 2018 when Plaintiffs were mistreated and

          harassed by a Frontier Check In and Gate Agent, baselessly removed from their flight,

          locked in a hot jetway, threatened by the same Gate Agent about the similar treatment

          that they would receive the following day for their rebooked flight. Plaintiff makes claims

          for negligent failure to transport, negligence per se, negligent manner of removal from

          the airplane, intentional tort, false imprisonment, and breach of contract.

                                               PARTIES
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 2.    Plaintiffs Ashfaq Hussain Syed and Shelly Renee Branch are single individuals who

       reside together at:

               5 Country Club Dr.
               Fulton, MO, 65251

               Callaway County

 3.    Plaintiff A.M.S. is an infant child, Date of Birth: December 16, 2016, proceeding by

       Next Friend Ashfaq Hussain Syed (presuming appointment).

 4.    PlaintiffN.G.S. is an infant child, Date of Birth: December 16, 2016, A.M.S.'s twin,

       proceeding by Next Friend Ashfaq Hussain Syed, (presuming appointment).

 5.    A.M.S. and N.G.S. are the natural children of Syed and Branch and reside with them.

 6.    Before any proceedings occur in this case Syed will seek appointment as Next Friend of

       A.M.S. and N.G.S.

 7.    Syed and Branch are a mixed-racial couple and Syed is of Middle Eastern complexion

       and descent.

 8.    Syed is a Sergeant First Class in the Missouri Army National Guard.

 9.    Syed has a Master's Degree in nuclear engineering and works as a supervisor in the

       Control Room of the Callaway Energy Center, a nuclear power plant in Callaway

       County, Missouri, which is owned and operated by Ameren Corporation, a large regional

       electric utility.

 10.   Frontier Air Lines is a Nevada corporation with its principal place of business in

       Colorado. Frontier has a place of business in St. Louis County, Missouri. Frontier

       operates regularly scheduled commercial air service into St Louis County, Missouri

       multiple times a week, and in this County sells tickets for carriage. Frontier has

       substantial revenues and expenses in St. Louis County.


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11.    Frontier reached into Missouri and sold Plaintiffs the tickets that form the genesis of this

       dispute.


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12.    The injuries suffered by the Plaintiffs arise directly out of the Defendant's conduct at the

       St. Louis Lambert International Airport which is in St. Louis County, Missouri.

                                 PERSONAL JURISDICTION

13.    Personal Jurisdiction over Defendant is proper in Missouri under the Missouri long arm

       statute, RSMo. 506.500.

                                        JURY DEMAND

14.    Plaintiff demands jury trial.

        GENERAL ALLEGATION OF AGENCY OF FRONTIER EMPLOYEES

15.    Plaintiffs are informed and believe, and thereon allege on inference, that at all times

       herein mentioned, the complained of employees of Defendant Frontier were the agents,

       servants and employees of Defendant Frontier, and at all times herein mentioned, each

       was acting within the scope and course of said agency and employment.

              GENERAL ALLEGATION THAT PLAINTIFFS' COMPLIED
                     WITH ALL LEGAL REQUIREMENTS

 16.   All Plaintiffs complied in all respects, whether or not material, with all legal and lawful

       conditions, requirements, ordinances, regulations and other legal and contractual

       undertakings incumbent upon them in connection with the Frontier Contract of Carriage,

       and with the rules and ordinances of the authorities at the airport of departure and

       proposed arrival, and all aircraft placards and crew member instructions.
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                                FACTUAL ALLEGATIONS

17    On Thursday, July 12, 2018 Branch went on line to Defendant's website and purchased

      confirmed tickets for the four Plaintiffs to fly one way from St Louis to Las Vegas, NV,

      departing on Sunday, July 15, 2018 at 5:59 p.m., Frontier Flight No. F9 87, confirmation

      no. YB517D.

 IM   Syed and Branch were not certain of their return date and that was why Branch only

      purchased tickets for one way.

19.   Branch selected seats 40D and 40E for herself and Syed. Because the children were             No

      under two at the time there was no charge for their travel and they were expected to sit on

      Syed and Branch's laps.

20.   The total fee for all four one way tickets was $211.40, which included a$30.00 bag fee

      for one bag and two $13.00 fees for seats reserved in advance of boarding.

21.   Branch paid for the trip with a Bank of America credit card.

22.   The purpose of the trip was for Syed and Branch to get married in Las Vegas, with their

      children with them, and then to go as a family to see friends on the California coast.

23.   During the 24 hour period before the flight Branch and Syed checked in and received

      boarding passes on their phones.

24.   When Plaintiffs arrived at the check in counter, they encountered a Frontier agent whose

      badge Plaintiff later read to read "Jerrasha Young," ("Young")

25.   Syed handed over his- military ID card with his full name: Ashfaq Hussain Syed.

26.   Young immediately became disagreeable and hostile.

27.   Branch asked Young to waive the bag fee because the Frontier website offers free

      luggage for military personnel.


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28.    Young informed Plaintiffs that Syed and Branch would have to pay for the bag, despite

       the Frontier policy of providing free baggage carriage to military personnel.

29.    Young then informed Plaintiffs that they could not sit together, despite the fact that

       Plaintiffs had confirmed seating together.

30.    Plaintiff asked why and Young said that if Branch was going to argue and not accept that

       Branch and Syed could not sit together Plaintiffs would have to cancel their tickets.

31.    At no time did Young explain her reason for refusing to allow the Plaintiffs to sit together

       or explain that there was an issue with available oxygen masks for five people seated in a

       three seat row (the four Plaintiffs plus whoever was in 40F).

32.    Young's hostile behavior was especially hard to understand considering that Plaintiffs

       were traveling with two infant children flying for their first time, as Syed and Branch

       indicated at the outset of the interaction, and it would be readily apparent to Young or

       any obj ectively reasonable person that the family being able to sit together — even if

       across the aisle — would be a paramount priority for such passengers.

33.    Young re-assigned Syed to a seat on left side of the plane, approximately 3-5 rows

       forward of row 40, in a window seat, stating that the new seat for Syed was the closest

       empty seat.

34.    Young gave Syed and Branch new paper boarding passes.

35.    Syed showed Young the children's birth certificates and Young gave Syed boarding

       passes for the children.

 36.   Young then informed Plaintiffs that as military they could both proceed through the TSA

       "pre-check" line.
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37.    Plaintiffs went to the pre-check line and the TSA agent stated that although Syed's

       military ID would allow him in that line, Branch would not be allowed in that line

       because she lacked military ID or other paperwork to allow use of the pre-check line.

38.    Syed and Branch observed that the regular TSA line was not crowded so they proceeded

       to that line and went through security.

39.    After passing through security, Branch called Frontier customer service to inquire about

       the seating situation, because they had booked their seating in advance, arrived at the

       airport with confirmed seats together, and had been given no explanation for why they

       had been separated.

40.    The Frontier customer service agent Branch reached on the phone, identity unknown to

       Plaintiffs, ("the First Frontier Phone Agent") told Branch that she was restoring their

       previous seat assignments and told Branch to inform Young that she, the First Frontier

       Phone Agent, had done so.

41.    The First Frontier Phone Agent said that Frontier routinely booked families with small

       children who would ride in their parents' lap and there would be no problem.

42.    When Plaintiffs arrived at the gate, they observed that Young, the same person with

       whom they had interacted at the baggage check-in counter, was handling the gate.

43.    When Branch informed Young that the First Frontier Phone Agent had restored their seat

       assignments, Young started speaking to her in a loud and irritated voice.

 44.   Young asked, "Who changed your seats?", and Branch told her it was the First Frontier

       Phone Agent.

 45.   Young then stated: "You will listen to me. I am the one that will tell you where you can

       sit, and I told you that you will not sit together."
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46.    Branch was made very uncomfortable by this loud and berating behavior as it was

       creating a scene in front of the other passengers.

 47.   Branch asked for an explanation of why they could not sit together and Young still

       provided no explanation.

48.    Plaintiffs quietly took their seats in the gate waiting area as they wished to avoid further

       confrontation.

 49.   Plaintiffs pre-boarded as a family at approximately 5:30 p.m.

 50.   Plaintiffs walked down the aisle and approached their originally assigned seats in Row

       El

 51.   At approximately that location a flight attendant confronted them and informed them that

       she had been made aware about them.

 52.   The flight attendant then told Syed and Branch that they would not be able to sit together.

 53.   Syed asked the flight attendant why they were receiving this treatment, and she informed

       Plaintiffs that there was an issue with the available oxygen masks with two lap infants.

 54.   Syed and Branch then understood that there was a rational reason for separating them and

       they abandoned all thoughts and intentions to sit on the same side of the plane in the

       same row.

 55.   Syed and Branch were then standing near their original seats, taking care of their

       children, and stowing their luggage.

 56.   A female passenger sitting in 40F, the window seat on the right side of the plane in

       Plaintiff s original row, had overheard the conversation about the oxygen masks and she

       then offered to the flight attendant that she would sit in Syed's reassigned seat so that her
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       seat would be empty, and there would be enough oxygen masks for Plaintiffls family to

       sit together as four people in one row.

 57.   The flight attendant stated to the woman in 40F "that will not work."

 58.   The flight attendant left Plaintiffs' immediate area.

 59.   Plaintiffs were still in the area of row 40.

 60.   A passenger then walked toward where Plaintiffs were standing.

 61.   It appeared to Plaintiffs that he was assigned to 39D.

 62.   Syed asked that passenger if he would swap seats so that this passenger would take the

       seat approximately row 35 to which Syed was now assigned, so that Syed and one child

       could sit in closer proximity to Branch and the other child.

 63.   The man good-naturedly agreed, sat down in Syed's assigned seat, and proceeded to put

       his head back in such a manner that he appeared to be falling asleep.

 64.   At this point, all Plaintiffs were in aisle seats, in adjacent rows, one behind the other, with

       each adult holding a child in his or her lap, and consequently there was no potential issue

       with oxygen masks.

 65.   The plane sat at the gate for what seemed an unusually long time.

 66.   The plane was nearly full.

 67.   While waiting for departure Syed and Branch did not witness any passengers make any

       complaint about them to any crew member.

 68.   Plaintiffs had no interaction with crew during this interval.

 69.   During this interval, Plaintiffs had brief interactions with other passengers who were

       charmed by the babies and Syed and Branch otherwise exchanged pleasantries with the

       other passengers, including the fact that it was the family's first flight together.



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 70.   A passenger across the aisle asked if she could take a picture of the family on its first

       flight together and Syed and Branch agreed.

 71.   Branch gave the passenger her phone and the passenger took the picture at approximately

       6:07 p.m.

 72.   Branch posted this picture to Facebook at 6:10 p.m.

 73.   Shortly thereafter, Young boarded the plane, marched up to the Plaintiffs, pointed her

       finger in Syed and Branch's faces, and said: "You and you get your stuff."

 74.   Syed and Branch, wordlessly complied by getting their carry on items and children

       together and followed Young down the aisle.

 75.   When they reached the front of the plane Branch asked Young where they were going

       and she said: "Off."

 76.   When Branch asked why, Young informed Syed and Branch that they would be told once

       they were off the plane.

 77.   As they exited the plane into the jetway area just off the airplane Young remained in the

       airplane doorway.

 78.   Branch saw another Frontier employee and asked that person to speak to a supervisor.

 79.   Branch recalls that the person stated that she was a supervisor and introduced herself as

       "Dez", (sp?).

 80.   "Dez" was on a walkie-talkie assisting with retrieving Plaintiff s stroller out of the

       plane's baggage hold.

 81.   "Dez" stated in response to an inquiry from Branch that Plaintiffs were being removed

       from the plane because the "passengers and flight attendants felt uncomfortable with

       Plaintiffs being on the plane.



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 82.   Dez then left the area via the jetway.

 83.   Branch again asked why they were being removed from the flight and Young stated that

       it was because they had made "the flight attendants and passengers uncomfortable."

 84.   At this point, Plaintiffs observed Young, the flight attendant and another unidentified

       employee snickering at them from the open plane door.

 85.   Plaintiffs pressed the Frontier employees for further explanation but received none.

 86.   Young then pushed past the Plaintiffs, proceeded up the jet way with Plaintiff following

       well behind, and closed the jet way's terminal door, leaving Plaintiffs in the jet way.

 87.   Branch pushed on the terminal jetway door but it would not open.

 88.   Branch went back to the airplane end of the jet way and found that the airplane door was

       closed.

 89.   At that point Plaintiffs were locked in the jet way tunnel, with a locked door to the

       terminal on one side and a locked plane door on the other side.

 90.   Plaintiff s remained locked in this tunnel, and were unable to exit. It was hot, they were

       sweating, and the babies were screaming. They sat down because of the heat.

 91.   Frontier controlled the exits of the jet way.

 92.   Syed and Branch understood that it would be unlawful to go out the jetway door leading

       to the tarmac and did not attempt that method of leaving the jetway.

 93.   While still in the jetway Branch called Frontier customer service by her cell phone and a

       Frontier customer phone service agent, (the "the Second Frontier Phone Agent"),

       answered.

 94.   Branch explained the family's circumstances and the Second Frontier Phone Agent said

       that her records showed that they were on the plane.



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 95.    Branch explained that the family was in the jetway.

 96.    The Second Frontier Phone Agent stated that she would get someone to let them out.

 97.    Branch was diagnosed years ago for migraine headaches. Her migraines are sometimes

        caused by stress.

 98.    Branch began developing a headache, likely a migraine, from the stress.

 99.    A Frontier Employee opened the terminal door to the jetway and standing next to that

        person was Young.

 100.   The amount of time Plaintiffs and their children were locked in the jetway tunnel is

        unknown but Plaintiffs estimate a few minutes, approximately 3-10 minutes, and it felt

        like a very long time.

 101.   Branch then initiated another cell phone call to customer service..

 102.   Branch spoke to a third telephone customer service agent to request that the family's

        flight be re-booked.

 103.   In the alternative Plaintiff was on hold from the original call and the conversation was a

        continuation of the call with the Second Frontier Phone Agent — Plaintiff has no clear

        memory of which it was. (Plaintiff will hereafter refer to this conversation as being with

        the "Third Frontier Phone Agent").

 104.   The Third Frontier Phone Agent informed Plaintiffs that an agent on the scene needed to

        make a computer entry showing them as removed from the flight so that rebooking could

        take place.

 105.   The only agent on the scene was Young, so Branch asked the Third Frontier Phone Agent

        if she, Branch, could put her phone on speaker and the Third Frontier Phone Agent

        agreed.



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 106.   A speaker phone conversation ensued between the Third Frontier Phone Agent, Syed,

        Branch and Young.

 107.   Young initially refused to comply with the Third Frontier Phone Agent's request to

        change Plaintiffs status from on the flight to off the flight, but eventually, grudgingly,

        did so, after Third Frontier Phone Agent confronted her and told her it was the least she

        could do.

 108.   The Third Frontier Phone Agent re-booked Plaintiffs for the next day and the phone call

        ended.

 109.   As Plaintiffs were walking away, Young was standing with two other individuals,

        including "Dez", looking at Plaintiff, and Young started making comments to the

        Plaintiffs. Branch was taking a video at this point. Young said: "Ma'am I didn't even

        give you permission to record me and that's illegal. See you tomorrow."

 110.   Plaintiffs ignored this comment and kept walking, at which point Young followed them,

        walked in front, turned around and stopped them, and said: "I don't think you heard me.

        I will see you at the gate tomorrow. It's the exact same crew as today." She then smiled

        widely and walked away.

 111.   Soon thereafter Syed called customer service and confirmed that it was indeed the exact

        same crew the next day, at which point he cancelled their flight.

 112.   Syed later went on-line to the feedback page filed a written complaint with Frontier

        stating the above story in abbreviated form.

 113.   It is not illegal to take videos of flight attendants and/or otherwise take videos on

        airplanes, 49 U.S.C. 46504.




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 114.   In any case Syed and Branch neither took video on the airplane nor harassed flight

        attendants.

 115.   It is not illegal for customers to trade seats.

 116.   Syed's on-line complaint contains an error in that it suggests that Plaintiffs learned of the

        issue of too many people in the row for the oxygen masks earlier than they actually

        received that information.

 117.   Syed called Frontier approximately the next day, spoke to "Lisa", told the story, and

        asked for the family's money back.

 118.   Frontier opened investigation No. 180821-001664.

 119.   Approximately two days later a Frontier representative named "Beth" called Plaintiff

        Syed's phone and spoke to Syed and Branch by speaker phone.

 120.   Beth stated that they had investigated the complaint and found that Syed was taking

        videos after being told by flight attendants to stop, harassing flight attendants, and asking

        customers to trade seats.

 121.   On August 21, 2019 "Beth" sent an e-mail to Syed stating that he would receive a refund

        on the credit card ending in 0676.

 122.   Plaintiffs have never received a refund on that card or any other card or by any other

        method.

 123.   Approximately two months later Branch wrote a Facebook post describing their

        experience, which generated considerable social media outrage.

 124.   A number of individuals, including Donna Stern, Branch's mother, contacted Frontier

        and/or posted on Facebook to complain about Frontier's behavior.

 125.   Frontier replied by e-mail to some of those who complained by defending its position.



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 126. "Beth", Frontier's investigator, wrote to Branch's mother, Donna Stern, on September 13,

        2018 at 4:49 p.m. and stated:

        a.      The children "were not included on their reservation".

        b.      "The parent who had been reassigned was now back in their (sic) original seat",

        C.      The "parents were not complying with crew member instructions and insisted on

                flying in a way that could jeopardize safety of flight".

        d.      "They were provided with a refund".

                                    NO COMPARATIVE FAULT

 127. Plaintiffs were not at fault in any way.

                                    NO LEGAL JUSTIFICATION

 128. There was no legal justification for Frontier to throw Plaintiffs off the flight or imprison

        Plaintiffs in the jetway.

                                            DAMAGES

 129. Plaintiffs did not receive the benefit of their contract with Frontier because Frontier did

        not provide transportation to Plaintiff s family from St. Louis to Las Vegas on July 15,

        2018.

 130. Due to the cancellation of their tickets, among other reasons, Syed and Branch have not

        yet married.

 131. All Plaintiffs lost the benefits associated with their expected trip to Las Vegas and the

        west coast.

 132. Syed and Branch suffered garden variety emotional damages from the loss of the

        transportation to Las Vegas.

 133. During the time Plaintiffs' were imprisoned in the jetway all four Plaintiffs suffered fear,


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        loss of liberty, uncomfortable conditions, humiliation, indignity, disgrace, stress,

        embarrassment and, mental suffering.

             PUNITIVE DAMAGES — NEGLIGENCE, NEGLIGENCE PER SE

 134.   Defendant's conduct in throwing Plaintiffs off the flight, through the actions of Young

        and other representatives of Frontier, all acting with actual or apparent authority, showed

        complete indifference to or conscious disregard for harm to others.

    PUNITIVE DAMAGES - INTENTIONAL TORT AND FALSE IMPRISONMENT

 135.   Defendant's conduct in throwing Plaintiffs off the flight and imprisoning Plaintiffs in the

        jetway, through the actions of Young and other representatives of Frontier all acting with

        actual or apparent authority, was outrageous because of the Defendant authorized

        representatives' evil motives and/or reckless indifference to the rights of Plaintiffs.

 136.   Frontier's conduct, through the actions of its authorized agents, from the moment

        Plaintiffs arrived at the check-in counter until they left the airport, showed complete

        indifference to and/or conscious disregard for the safety and rights of Plaintiffs.

                        UNFAIR OR DECEPTIVE PRACTICE
                   TO BUMP PAYING PASSENGERS FOR NO REASON

 137.   The "Transparency Iinprovements and Compensation to Keep Every Ticketholder Safe

        Act of 2017" or the "TICKETS Act", Public Law No: 115-254, Title IV, Subtitle A, Sec.

        425, HR 302, passed by both houses and signed by the president, effective October 5,

        2018, ("the statute"), (which is a date after this incident}, states in relevant part:

                It shall be an unfair or deceptive practice under subsection (a) for an air carrier or

                foreign air carrier subject to part 250 of title 14, Code of Federal Regulations, to

                involuntarily deplane a revenue passenger onboard an aircraft, if the revenue

                passenger-

                                                     15
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                         (A)   is traveling on a confirmed reservation; and

                         (B)   checked-in for the relevant flight prior to the check-in deadline.

 138.   When Defendant expelled Plaintiffs from the airplane, Defendant violated this Act,

        (although the act was not yet effective).

                                  COUNT I — NEGLIGENCE
                                 Failure to Transport Plaintiffs
                                 All Plaintiffs Against Defendant

 139.   Plaintiffs incorporate all prior paragraphs.

 140.   Plaintiffs had confirmed paid for tickets to Las Vegas on Frontier flight F9 87 for July 15,

        2018 from St. Louis to Las Vegas.

 141.   Plaintiffs and Defendant had the relationship of passenger and common carrier.

 142.   Defendant had a duty to exercise the highest degree of care to safely transport Plaintiffs

        to Las Vegas.l

 143.   Plaintiff boarded the plane for the flight.

 144.   Defendant, through its authorized representatives, removed Plaintiffs from the plane.

 145.   Defendant, through its authorized representatives, made it impossible for Plaintiffs to go

        to Las Vegas the next day.

 146.   Plaintiffs did not go to Las Vegas at all.

 147.   When Defendant, through its authorized representatives, removed Plaintiffs from the

        plane and prevented them from going the next day, Defendant breached its duty to

        transport Plaintiffs to Las Vegas.



    1Spencer v. Am. Airlines, Inc., 553 S.W.3d 861, 867 (Mo. Ct. App. 2018), Dykens v. E.

    Airlines, Inc., 865 F.2d 1271 (9th Cir. 1989), Goliger Trading Co. ofN. Y. v. Chicago & N.
    W. Ry. Co., 184 F.2d 876, 880 (7th Cir. 1950), Baltimore & O.R. Co. v. Thornton, 188 F.
    868, 877-78 (4th Cir. 1911), Siegel v. Illinois Cent. R. Co., 186 Mo. App. 645, 172 S.W.
    420, 422 (1915).
                                                       16
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 148.   Defendant, through its authorized representatives failed to use to use that degree of care

        that a very careful person would have used under the same or similar circumstances to

        provide Plaintiffs transportation to Las Vegas.

 149.   It was reasonably foreseeable to Defendant that Plaintiffs would suffer damages if

        Defendant, through its authorized representatives, removed Plaintiffs from the plane and

        made it impossible for them to go to Las Vegas the next day.

 150.   Plaintiffs suffered the special and general damages associated with the loss of the

        transportation.

 151.   Plaintiffs suffered garden variety emotional distress.

 152.   Defendant's conduct, through its authorized representatives, showed complete

        indifference to or conscious disregard for harm to others.2

 153.   Defendant's conduct, through its authorized representatives, demonstrated conscious

        negligence tantamount to intentional wrongdoing because Defendant's authorized agents

        were conscious of their conduct, and, though having no specific intent to injure, must

        have been conscious, from their knowledge of surrounding circumstances and existing

        conditions, that their conduct would naturally or probably result in injury3 and/or that

        there was a high probability that their conduct would result in injury.4




    2Hoover's Dairy, Inc. v. Mid Am. Dairymen, Inc./Special Prods., Inc., 700 S.W.2d 426, 435
    (Mo. banc 1985), MAI 10.02.
    3 Tubbs v. BNSFRy. Co., Inc., 562 S.W.3d 323, 340-41 (Mo. Ct. App. 2018)
    4Poage v. Crane Co., 523 S.W.3d 496, 515 (Mo. App. E.D. 2017) (quoting Letz v.
    Turbomeca Engine Corp., 975 S.W.2d 155, 164 (Mo. App. W.D. 1997) (en banc)), Oyler v.
    Hy-Vee, Inc., 539 S.W.3d 742, 746 (Mo. Ct. App. 2017)
                                                   17
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        WHEREFORE, on Count I Plaintiffs pray for judgment against Defendant under the

 theory of negligence for compensatory damages in excess of $25,000.00, punitive damages,

 costs, and for such other relief as the court fmds to be just, meet and reasonable.

                              COUNT II — NEGLIGENCE PER SE
                                  Violation of TICKETS Act
                                All Plaintiffs Against Defendant

 154.   Plaintiffs incorporate all prior paragraphs.

 155.   Plaintiffs checked in prior to the check-in deadline

 156.   Plaintiffs entered and went to their seats on the airplane as paid passengers with

        confirmed reservations.

 157.   Defendant forced Plaintiffs to involuntarily deplane.

 158.   The TICKETS Act, albeit enacted into law after this incident, defines the duty of the

        common carrier to transport paying passengers.5

 159.   Pursuant to the statute under these circumstances it was an unfair or deceptive practice to

        involuntarily deplane Plaintiffs.

 160.   Defendant, through its authorized representatives, violated the statute.

 161.   Plaintiffs are members of the class of persons intended to be protected by the statute.

 162.   The damages outlined above are the kind of damages the statute was designed to prevent.

 163.   The violation of the statute was the cause of Plaintiff's damages.6

 164.   Defendant's conduct, through its authorized representatives, showed complete

        indifference to and/or conscious disregard for harm to others.7



     5 Plaintiffs are unaware of any precedent stating that a later enacted statute may not relate
     back in a negligence per se claim.
     6Martinez v. Kilroy Was Here LLC, 551 S.W.3d 491, 496 (Mo. Ct. App. 2018)
     'Hoover's Dairy, Inc. v. Mid Am. Dairymen, Inc./Special Prods., Inc., 700 S.W.2d 426, 435
     (Mo. banc 1985), MAI 10.02.
                                                       18
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 165.    Defendant's conduct, through its authorized representatives, demonstrated conscious

         negligence tantamount to intentional wrongdoing because Defendant's authorized agents

         were conscious of their conduct, and, though, in the alternative, having no specific intent

         to injure, must have been conscious, from their knowledge of surrounding circumstances

         and existing conditions, that their conduct would naturally or probably result in injury8

         and/or that there was a high probability that their conduct would result in injury.9

         WHEREFORE, on Count II Plaintiffs pray for judgment against Defendant under the

 theory of negligence per se for compensatory damages in excess of $25,000.00, punitive

 damages, costs, and for such other relief as the court fmds to be just, meet and reasonable.

                                   COUNT III - NEGLIGENCE
                                  Manner of Removal from Plane
                                  All Plaintiffs Against Defendant

 166.    Plaintiffs incorporate all prior paragraphs.

 167.    Defendant and its agents had a duty as a common carrier to exercise ordinary care under

         the circumstances for the well-being and treatment of its passengers.

 168.    It was reasonably foreseeable that Defendant and its agents' improper treatment of the

         Plaintiffs in the manner in which they were removed from the plane would result in

         aggravation, inconvenience, distress, and would deprive them of their family trip.

 169.    Defendant and its agerits breached the duty of a common carrier to Plaintiffs by the cruel

         and callous manner by which they ejected Plaintiffs from the aircraft, including by

         drawing attention to Plaintiffs as though they were criminals in front of all the passengers




     8Tubbs v. BNSFRy. Co., Inc., 562 S.W.3d 323, 340-41 (Mo. Ct. App. 2018)
     9Poage v. Crane Co., 523 S.W.3d 496, 515 (Mo. App. E.D. 2017) (quoting Letz v.
     Turbomeca Engine Corp., 975 S.W.2d 155, 164 (Mo. App. W.D. 1997) (en banc)), Oyler v.
     Hy-Vee, Inc., 539 S.W.3d 742,746 (Mo. Ct. App. 2017)
                                                        19
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          heading to Las Vegas, by terrifying Plaintiffs, leaving them in a locked jetway, and

          intimidating them into cancelling their rescheduled flight.

 170.     As a result, all Plaintiffs suffered monetary damages, inconvenience, embarrassment, and

          emotional distress from this outrageous conduct, which continue to affect all Plaintiffs.

          WHEREFORE, on Count III Plaintiffs pray for judgment against Defendant under the

 theory of negligent manner of removal from the airplane for compensatory damages in excess of

 $25,000.00, punitive damages, costs, and for such other relief as the court finds to be just, meet

 and reasonable.

                                COUNT IV — INTENTIONAL TORT
                                  Intentional Removal from Plane
                                  All Plaintiffs Against Defendant

 171.     Plaintiffs incorporate all prior paragraphs.

 172.     Defendant, through its authorized representatives, intentionally removed Plaintiffs from

          the plane.

 173. ' At the time there was no statute, law or regulation specifically making unlawful the

          removal of Plaintiffs from the plane.

 174.     The removal of Plaintiffs from the plane caused Plaintiffs damages as outlined above.

 175.     There was no justification and/or there was insufficient justification for Defendant's

          removal of Plaintiffs from the plane. lo

 176.     Defendant's conduct, through its authorized representatives, was outrageous because of

          Defendant's evil motive or reckless indifference to the safety and rights of others.l l




        to porter v. Crawford & Co., 611 S.W.2d 265, 268 (Mo. App. 1980), Billingsley v. Farmers
     All. Mut. Ins. Co., 555 S.W.3d l, 6-7 (Mo. Ct. App. 2018).
     11 MAI 10.01

                                                         20
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        WHEREFORE, on Count IV Plaintiffs pray for judgment against Defendant under the

 theory of intentional tort for compensatory damages in excess of $25,000.00, punitive damages,

 costs, and for such other relief as the court fmds to be just, meet and reasonable.

                               COUNT V — INTENTIONAL TORT
                                False Imprisonment in the Jetway
                                 All Plaintiffs Against Defendant

 177.   Plaintiff incorporates all prior paragraphs.

 178.   By confining Plaintiffs into the overheated jet way with no exit, Young knowingly and

        unlawfully constrained Plaintiffs and completely restricted their movement without their

        consent.

 179.   The Plaintiffs were aware that they had been locked in the jetway and were not free to

        leave, which was a substantial interference with their liberty.

 180.   The actions of Defendant's agents were reasonably foreseeable in that the actions of

        defendant's agents were within the scope of their employment.

 181.   As a result Plaintiffs suffered damages including humiliation, heat duress, mental

        anguish, and fear for their wellbeing and that of their children.

 182.   Defendant's conduct, through its authorized representatives, was outrageous because of

        Defendant's evil motive or reckless indifference to the rights of others. 12

        WHEREFORE, on Count V Plaintiffs pray for judgment against Defendant under the

 theory of false imprisonment for compensatory damages in excess of $25,000.00, punitive

 damages, costs, and for such other relief as the court fmds to be just, meet and reasonable.

                           COUNT VI - BREACH OF CONTRACT
                Breach of Contractual Duty to Transport Plaintiffs to Las Vegas




     12 MAI 10.01


                                                       21
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                               Syed and Branch Against Defendant

 183.   Plaintiff incorporates all pi-ior paragraphs.

 184.   Plaintiffs and Defendant Frontier entered into a contract of carriage to transport Plaintiffs

        from St Louis, MO to Las Vegas, NV.

 185.   As consideration for this contract, Plaintiffs paid $211.40.

 186.   Plaintiffs complied in every way with the conditions of the contract.

 187.   Under the terms of the contract, Frontier may refuse carriage for a limited set of reasons,

        none of which were applicable when they refused to carry Plaintiffs.

 188.   By refusing to carry Plaintiffs after they had purchased valid tickets and engaged in a

        binding contract, Defendant Frontier breached the contract by its refusal to perform.

 189.   As a result, Plaintiffs suffered actual, consequential and benefit of the bargain damages13

        as a direct result of Defendant's breach, in an amount to be determined at trial.

        WHEREFORE, on Count VI Plaintiff prays for compensatory damages in a fair and

 reasonable amount, court costs, and for such other relief as the court finds to be just, meet and

 reasonable.

                                                Respectfully Submitted,

                                                   /s/ W. Bevis Schock .
                                                W. Bevis Schock, 32551M0
                                                Attorney for Plaintiffs
                                                7777 Bonhomme Ave., Ste. 1300
                                                St. Louis, MO 63105
                                                wbschock@schocklaw.com
                                                Fax: 314-721-1698
                                                Voice: 314-726-2322




     13 Catroppa v. Metal Bldg. Supply, Inc., 267 S.W.2d 522, 531 (Mo Banc. 1983), Curators of
     the University ofMissouri v. Suppes, WD81278, January 8, 2019, 2019 WL 121983.
                                                        22
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   y'           IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, NIISSOURI

 Judge or Division:
 JOSEPHL. WALSHIII
                                                                    Case Number: 19SL-CCO2229
                                                                                                                               ~
                                                                                                                                   .~
                                                                                                                                          CE T        ,,
                                                                                                                                                    ~.~v ED
 Plaintiff/Petitioner:                                             Plaintiff's/Petitioner's Attorney/Address
 HUSSAIN SYED ASHFAQ                                               W BEVIS SCHOCK                                                        JUN 9, 2019
                                                                   7777 BONHOMME STE 1300
                                                              vs. CLAYTON, MO 63105                                                  CQj F--(~ ~j ~-      N Y
 Defendant/Respondent:                                             Court Address:                                                  ~H~~~.~ ~' ~ (~FF I CE
 FRONTIER AIR LINES, INC.                                          ST LOUIS COUNTY COURT BUILDING
                                                                   105 SOUTH CENTRAL AVENUE
 Nature of Suit:
                                                                   CLAYTON, MO 63105
 CC Pers In'u -Other                                                                                                                         Date File Stam
                                                               Summons in Civil Case
     The State of Missouri to: FRONTIER AIR LINES, INC.
                                Alias: '
  SHERIFF OF COLE COUNTY
  PRENTICE HALL CORPORATION
  221 BOLIVAR ST. '
  JEFFERSON CITY, MO 65101
          COURTSEAL OF                          You are summoned to appear before this court and to file your pleading to the petition, a copy of
             ~ couer o;                   which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                  ...,~s~                 above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                          file you.r pleading, judgment by default may be talcen against you for the relief demanded in the petition.
                                                SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                         notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                         or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
         ST. LOUISCOUNTY                 proceeding.

                                           06-JUN-2019
                                            Date                                                                              Clerlc

                                          Further Information:'
                                          LG
                                                            Slreriff's or Server's Return
     Note to serving officer: Suminons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
     ❑ delivering a copy of the suinmons and a copy of the petition to the Defendant/Respondent.
     ❑ leaving a copy of the surnmons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                                                                  a person of the Defendant's/Respondent's family over the age of 15 years who
        permanently resides with the Defendant/Respondent.
     ❑ (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                                                                                      (name)                                                            (title).

        ❑ other

    Served at                                                                                                                                       (address)
    in                                             (County/City of St. Louis), M0, on                                  (date) at                          (time).


                          Printed Name of Sheriff or Server                                               Signature of Sheriff or Server
                                        Must be sworn before a notary public if not served by an authorized officer:
                                       Subscribed and swom to before me on                                                     (date).
             (Seal)
                                       My commission expires:
                                                                               Date                                                      Public
     Sheriff s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff's Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                                                    miles @ $.       per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.

OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 19-SMCC-4976 1                  (Civil Procedure Form No. 1, Rules 54.01— 54.05,
                                                                                                               54.13, and 54.20; 506.120 — 506.140, and 506.150 RSMo
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                 IN THE CIRCUIT COURT FOR THE COUNTY OF ST. LOUIS
                                 STATE OF MISSOURI

ASHFAQ HUSSAIN SYED, et al.                         )
                                                    )
            Plaintiffs,                             )
                                                    )           Case No.:       19SL-CC02229
v.                                                  )
                                                    )           Division:       4
FRONTIER AIR LINES, INC.,                           )
                                                    )
            Defendant.                              )

            PLAINTIFFS’ MOTION FOR CAUSE TO BE LITIGATED
                   IN THE PRE-TRIAL PUBLIC RECORD
        WITH CHILDREN IDENTIFIED THROUGH INITIALS ONLY, AND
     FOR LEAVE FOR PLAINTIFF TO FILE THEIR FULL NAMES UNDER SEAL

         Come now Plaintiffs, by counsel W. Bevis Schock, and move the court to allow case to

be litigated in the pre-trial public record with the children identified through initials only, and for

leave for Plaintiffs to file the children’s full names under seal. In support whereof, Plaintiffs

state:

1.       This is a case by the four members of Plaintiff’s family, a father, a mother and their two

         infant children, against Frontier Airlines for improperly removing Plaintiffs from an

         airplane.

2.       Plaintiff A.M.S. is an infant child, Date of Birth: December 16, 2016.

3.       Plaintiff N.G.S. is an infant child, Date of Birth: December 16, 2016.

         Because the children are less than three years old it would be improper for their names to

be in the public record.

         Plaintiffs further ask for leave for the children’s full names to be filed under seal.
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        WHEREFORE, Plaintiffs pray the court to order that this case shall be litigated in the

pre-trial public record with the children identified through initials only and for leave to Plaintiff

to file their full names under seal.

Respectfully Submitted,

   /s/ W. Bevis Schock .
W. Bevis Schock, MBE # 32551
Attorney for Plaintiffs
7777 Bonhomme Ave., Ste. 1300
St. Louis, MO 63105
wbschock@schocklaw.com
Fax: 314-721-1698
Voice: 314-726-2322




So Ordered,


_________________________________
Judge

Date_____________________________
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

ASHFAQ HUSSAIN SYED, et al.                       )
                                                  )
           Plaintiffs,                            )
                                                  )          Case No.:      19SL-CC02229
v.                                                )
                                                  )          Division:      4
FRONTIER AIR LINES, INC.,                         )
                                                  )
           Defendant.                             )

                    PLAINTIFFS’ MOTION FOR ORDER TO CLERK
                  TO CORRECT ERROR IN PLAINTIFF SYED’S NAME
                                IN CASE CAPTION

       Come now Plaintiffs, by counsel W. Bevis Schock, and move for an order to the clerk to

correct an error in Plaintiff’ Ashfaq Hussain Syed’s name in the case caption. When the clerk set

up the case the clerk apparently thought Plaintiff Ashfaq Hussain Syed’s middle name was his

last name. In fact, his correct last name is “Syed”.

       WHEREFORE, Plaintiffs pray the court to order the clerk correct the case caption to

reflect that Plaintiff’s name is Ashfaq Hussain Syed, and that his last name is Syed.



So Ordered,


_________________________________
Judge

Date_____________________________
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                IN THE CIRCUIT COURT FOR THE COUNTY OF ST. LOUIS
                                STATE OF MISSOURI

ASHFAQ HUSSAIN SYED, et al.                        )
                                                   )
           Plaintiffs,                             )
                                                   )         Case No.:      19SL-CC02229
v.                                                 )
                                                   )         Division:      4
FRONTIER AIR LINES, INC.,                          )
                                                   )
           Defendant.                              )

 APPLICATION FOR ADMISSION OF WILLIAM T. WOODROW FOR PLAINTIFFS
                          PRO HAC VICE

       Come now Plaintiffs, by counsel W. Bevis Schock, and move the court to grant the entry

of appearance of William T. Woodrow for Plaintiffs, pro hac vice pursuant to Rule 9.03. In

support whereof Plaintiffs state:

1.     W. Bevis Schock, a licensed attorney in the State of Missouri, filed this case.

2.     Plaintiffs now seek the admission of William T. Woodrow as additional counsel for

       Plaintiffs.

3.     Mr. Woodrow is a member in good standing of the Bar of New York State.

4.     He is a member of:

               Stone & Woodrow LLP
               250 West Main St. Suite 201
               Charlottesville, VA 22902
               855-275-7378

5.     No member of that firm is under suspension or disbarred by the highest court of any state

       or territory of the United States or the District of Columbia.

6.     His attached affidavit, Exhibit A, lists every court of which he is a member of the bar.
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7.      As stated in that affidavit, Mr. Stone agrees to comply with Rules of Professional

        Conduct as set forth in Rule 4 and to become subject to discipline by the courts of this

        state.

8.      Plaintiffs attach Exhibit A, a receipt from the Missouri Supreme Court for the $410.00

        fee.

        WHEREFORE, Plaintiffs prays the court to admit William T. Woodrow, pro hac vice, to

represent Plaintiffs in this matter.

Respectfully Submitted,

   /s/ W. Bevis Schock .
W. Bevis Schock, MBE # 32551
Attorney for Plaintiffs
7777 Bonhomme Ave., Ste. 1300
St. Louis, MO 63105
wbschock@schocklaw.com
Fax: 314-721-1698
Voice: 314-726-2322

So Ordered,


_________________________________
Judge

Date_____________________________
Case: 4:19-cv-02125-AGF          Doc. #: 1-1     Filed: 07/23/19        Page: 36 of 38 PageID #:
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                IN THE CIRCUIT COURT FOR THE COUNTY OF ST. LOUIS
                                STATE OF MISSOURI

ASHFAQ HUSSAIN SYED, et al.                      )
                                                 )
           Plaintiffs,                           )
                                                 )           Case No.:      19SL-CC02229
v.                                               )
                                                 )           Division:      4
FRONTIER AIR LINES, INC.,                        )
                                                 )
           Defendant.                            )

     APPLICATION FOR ADMISSION OF THATCHER A STONE FOR PLAINTIFFS
                             PRO HAC VICE

       Come now Plaintiffs, by counsel W. Bevis Schock, and move the court to grant the entry

of appearance of Thatcher A. Stone for Plaintiffs, pro hac vice pursuant to Rule 9.03. In support

whereof Plaintiffs state:

1.     W. Bevis Schock, a licensed attorney in the State of Missouri, filed this case.

2.     Plaintiff now seek the admission of Thatcher A. Stone as additional counsel for Plaintiffs.

3.     Mr. Stone is a member in good standing of the Bar of New York State.

4.     He is a member of:

                Stone & Woodrow LLP
                250 West Main St. Suite 201
                Charlottesville, VA 22902
                855-275-7378

5.     No member of that firm is under suspension or disbarred by the highest court of any state

       or territory of the United States or the District of Columbia.

6.     His attached affidavit, Exhibit A, lists every court of which he is a member of the bar.

7.     As stated in that affidavit, Mr. Stone agrees to comply with Rules of Professional

       Conduct as set forth in Rule 4 and to become subject to discipline by the courts of this

       state.
Case: 4:19-cv-02125-AGF            Doc. #: 1-1    Filed: 07/23/19    Page: 37 of 38 PageID #:
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8.      Plaintiffs attach Exhibit A, a receipt from the Missouri Supreme Court for the $410.00

        fee.

        WHEREFORE, Plaintiffs prays the court to admit Thatcher A. Stone, pro hac vice, to

represent Plaintiffs in this matter.

Respectfully Submitted,

   /s/ W. Bevis Schock .
W. Bevis Schock, MBE # 32551
Attorney for Plaintiffs
7777 Bonhomme Ave., Ste. 1300
St. Louis, MO 63105
wbschock@schocklaw.com
Fax: 314-721-1698
Voice: 314-726-2322

So Ordered,


_________________________________
Judge

Date_____________________________
Case: 4:19-cv-02125-AGF   Doc. #: 1-1    Filed: 07/23/19   Page: 38 of 38 PageID #:
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